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                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  CLARKSBURG DIVISION

STATE OF OHIO,
STATE OF COLORADO,                                            Civil No. l:23-cv-lOO
STATE OF ILLINOIS,                                            Judge John Preston Bailey
STATE OF MINNESOTA,
STATE OF MISSISSIPPI,
STATE OF NEW YORK,
STATE OF NORTH CAROLINA,
STATE OF TENNESSEE,
COMMONWEALTH OF VIRGINIA,
STATE OF WEST VIRGINIA,
DISTRICT OF COLUMBIA, and
UNITED STATES OF AMERICA,

       Plaintiffs,

                 V.


NATIONAL COLLEGIATE
ATHLETIC ASSOCIATION,

       Defendant.


                                 STIPULATION AND ORDER

       It is hereby stipulated by and between the undersigned parties, subject to approval and

entry of this Order by the Court, as follows.

I.   JURISDICTION AND VENUE

       The Court has jurisdiction over the subject matter of this action and over the parties to it.

Venue for this action is proper in the United States District Court for the Northern District of

West Virginia.




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II.   COMPLIANCE WITH AND ENTRY OF FINAL JUDGMENT

         A.    The proposed Final Judgment filed with this Stipulation and Order, or any

amended proposed Final Judgment agreed upon in writing by the United States and Defendant

National Collegiate Athletic Association, may be filed with and entered by the Court as the Final

Judgment, upon the motion of the United States or upon the Court’s own motion, after

compliance with the requirements of the Antitrust Procedures and Penalties Act (“APPA”), 15

U.S.C. § 16, and without further notice to any party or any other proceeding, as long as the

United States has not withdrawn its consent. The United States may withdraw its consent at any

time before the entry of the Final Judgment by serving notice on Defendant and by filing that

notice with the Court.

         B.    From the date of the signing of this Stipulation and Order by Defendant until the

Final Judgment is entered by the Court, or until expiration of time for all appeals of any ruling

declining entry of the proposed Final Judgment, Defendant will comply with all of the terms and

provisions of the proposed Final Judgment.

         C.    From the date on which the Court enters this Stipulation and Order, the United

States will have the full rights and enforcement powers set forth in the proposed Final Judgment

as if the proposed Final Judgment were in full force and effect as a final order of the Court, and

Paragraph 30 of the proposed Final Judgment will also apply to violations of this Stipulation and

Order.

         D.    Defendant represents that the relief required by and the actions it is required to

perform pursuant to the proposed Final Judgment can and will be made and performed and that

Defendant will not later raise a claim of mistake, hardship, or difficulty of compliance as


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grounds for asking the Court to modify any provision of the proposed Final Judgment or this

Stipulation and Order.

       E.         Defendant agrees to arrange, at its expense, publication of the newspaper notices

required by the APPA, which will be drafted by the United States in its sole discretion. The

publications must be arranged as quickly as possible and, in any event, no later than three

business days after Defendant’s receipt of (1) the text of the notice from the United States and

(2) the identity of the newspapers within which the publication must be made. Defendant must

promptly send to the United States (1) confirmation that publications of the newspaper notices

have been arranged and (2) the certification of the publications prepared by the newspapers

within which the notices were published.

       F.         Any person who wishes to submit to the United States written comments

regarding the proposed Final Judgment should do so within 60 calendar days beginning with the

first day of the publication of the newspaper notice required by APPA or the publication of the

proposed Final Judgment and the Competitive Impact Statement in the Federal Register as

required by APPA, whichever is later.

       G.         This Stipulation and Order applies with equal force and effect to any amended

proposed Final Judgment agreed upon in writing by the United States and Defendant and filed

with the Court.

       H.         This Stipulation and Order, including the proposed Final Judgment filed with this

Stipulation and Order or any amended proposed Final Judgment agreed upon in writing by the

United States and Defendant, constitutes the final, complete, and exclusive agreement and

understanding between the United States and Defendant with respect to the settlement of the


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claims expressly stated in the Complaint filed in this above-captioned case, and supersedes all

prior agreements and understandings, whether oral or written, concerning the settlement

embodied herein.

III.   DURATION OF OBLIGATIONS

       In the event that (1) the United States has withdrawn its consent, as provided in

Paragraph II.A of this Stipulation and Order; (2) the United States voluntarily dismisses the

Complaint in this matter; or (3) the Court declines to enter the proposed Final Judgment, the time

has expired for all appeals of any ruling declining entry of the proposed Final Judgment, and the

Court has not otherwise ordered continued compliance with the terms and provisions of the

proposed Final Judgment, Defendant is released from all further obligations under this

Stipulation and Order, and the making of this Stipulation and Order will be without prejudice to

any party in this or any other proceeding.




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Dated: May 30, 2024

Respectfully submitted,

 FOR PLAINTIFF                                  FOR DEFENDANT NATIONAL
 UNITED STATES OF AMERICA:                      COLLEGIATE ATHLETICS ASS’N:


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                                           ORDER


IT IS SO ORDERED by the Court, this   31     day of   ___________________, ________




                                                 United States District Judge




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